              Case5:15-cr-00226-EJD Document7 Filed05/26/15 Page1 of 1



                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES

Date: May 26, 2015                    Time in Court: 4 Minutes                Judge: BETH LABSON FREEMAN
Case No.: 15-cr-00226-BLF-1 Case Name: UNITED STATES v. York

Attorney for Plaintiff: Brianna Penna
Attorney for Defendant: Graham Archer

 Deputy Clerk: Tiffany Salinas-Harwell                            Court Reporter: Irene Rodriguez
                                                                  9:06 – 9:10
 Interpreter: n/a                                                 Probation Officer: n/a


                                               PROCEEDINGS



Status Hearing held.
Counsel for Plaintiff and Defendant are Present.
Defendant is Present, In-Custody.

CASE CONTINUED TO: June 09, 2015 at 8:30 am for Further Status.



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EXCLUDABLE DELAY: Effective Preparation of Counsel.
Begins: 05/26/2015
Ends: 06/09/2015

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                                                                                                     May 26, 2015



                                                                                     Tiffany Salinas-Harwell
                                                                           Courtroom Deputy to the Honorable
                                                                                       Beth Labson Freeman
